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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

RICHARD PITTMAN, et al.,

      Defendants.                                    Case No. 05-CR-30133-DRH


                                      ORDER

HERNDON, District Judge:

            Before the Court is defendant Richard Pittman’s Motion for Additional

Time to File Answer to Presentence Report (Doc. 464) because counsel has not had

an opportunity to thoroughly examine the report with the defendant.         As his

sentencing hearing is not until May 4, 2007, the Court GRANTS the Motion (Doc.

464) and allows defendant Richard Pittman to file his objections to the Presentence

Report on or before April 18, 2007.

            IT IS SO ORDERED.

            Signed this 11th day of April, 2007

                                                    /s/      David RHerndon
                                                    United States District Judge
